Case 2:20-cr-00168-NBF Document 3 Filed 07/22/20 Page 1 of 2

FILEp

| JUL 22°
_ IN THE UNITED STATES DISTRICT COURT 22 2009

ERK y
FOR THE WESTERN DISTRICT OF PENNS NANTES. Dist 780 kicr Coury
N

UNITED STATES OF AMERICA SYLV, VANIA:

: )
) |
v. ) Criminal No. Dp “ff b8
) (18 U.S.C. §§ 2 and 231(a)(3))
)

GEORGE ALLEN [UNDER SEAL]

INDICTMENT
COUNT ONE
The grand jury charges: |
On or about May 30, 2020; in the Western District of Pennsylvania, the defendant,
GEORGE ALLEN, did commit and attempt to commit an act to obstruct, impede and interfere
with a law enforcement officer lawfully engaged in the lawful performance of the officer’s official
duties, incident to and during the commission of a civil disorder which obstructed, delayed and
adversely affected commerce and the movement of articles and commodities in commerce, to wit:
the defendant, GEORGE ALLEN, incident to and during the commission of a civil disorder in the
vicinity of downtown Pittsburgh and the PPG Paints Arena in the City of Pittsburgh, which
disorder obstructed, delayed and adversely affected the interstate commerce activities of nearby
business establishments and the movement of articles and commodities in commerce, did

knowingly and willfully cause damage to a police officer’s police vehicle by throwing a projectile
. Case 2:20-cr-00168-NBF Document 3 Filed 07/22/20 Page 2 of 2

through the front passenger window of the vehicle; causing the obstruction, impediment and
interference of law enforcement officers engaged in the lawful performance of their official duties.

In violation of Title 18, United States Code, Sections 2 and 23 1(a)(3).

 

A True Bill,
Jpn fp
g a Cs Lo
Foreperson [V

SCOTT W. BRADY

United States Attorney
PA ID No. 88352 .
